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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                             MIDLAND-ODESSA DIVISION

 FLOR CARRETERO, SERGIO                          §
 CARRETERO, AND MIRSA                            §
 CARRETERO                                       §
                                                 §
        Complainants                             §
                                                 §
 VS.                                             §                      7:20-cv-278
                                                      CIVIL ACTION NO. _______________
                                                 §
 SURINDER PAL SINGH AND RITIK                    §    JURY TRIAL DEMANDED
 TRANSPORT, INC.                                 §
      Defendants                                 §
                                                 §

                                   ORIGINAL COMPLAINT

       COMES NOW, Complainants FLOR CARRETERO, SERGIO CARRETERO, AND

MIRSA CARRETERO (hereinafter collectively referred to as “Complainants”) and file this

Original Complaint against Defendants SURINDER PAL SINGH (hereinafter referred to as

“Defendant SINGH”) and RITIK TRANSPORT, INC. (hereinafter referred to as “Defendant

RITIK”) and alleges as follows:

1.0    Introduction

       1.1      This cause of action is against Defendant SINGH for his negligence while driving,

resulting in a collision with Complainants’ vehicle on January 2, 2019. Defendant SINGH’S

negligence proximately caused Complainants to suffer serious bodily injuries on or about January

2, 2019, on IH-10, in Cochise County, Arizona.

       1.2      Throughout the entirety of the events, actions, and omissions leading to the

collision that forms the basis of this litigation, Defendant SINGH acted within the course and scope

of his employment with Defendant RITIK. Thus, cause of action is brought against Defendant




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RITIK under the doctrine of respondeat Superior. Defendant RITIK is vicariously liable for all

damages resulting from the actions of Defendant SINGH.

2.0    Parties

       2.1       Complainant FLOR CARRETERO is a resident of Odessa, Texas.

       2.2       Complainant SERGIO CARRETERO is a resident of Odessa, Texas.

       2.3       Complainant MIRSA CARRETERO is a resident of Odessa, Texas.

       2.4       Defendant SINGH is a resident of New York and may be served by personal service

at his residence, 16110 Jewel Avenue, Fresh Meadows, New York 113650000, or wherever he

may be found.

       2.5       Defendant RITIK is an California Company with its principal place of business in

Bakersfield, California, and may be served by serving its registered agent for service at 10503

Prairie Stone Place, Bakersfield, California 93311.

3.0    Jurisdiction

       3.1       This Court has original jurisdiction pursuant to 28 U.S.C. § 1332.

       3.2       Complainants are residents of Texas. Defendant SINGH is a resident of New York.

Defendant RITIK is a California Company with its principal place of business in California. Thus,

there is complete diversity of citizenship between Complainants and Defendants.

       3.3       The amount in controversy, exclusive of interest and costs, exceeds the sum of

$75,000.00.

4.0    Venue

       4.1       The United States District Court, Western District of Texas, Midland-Odessa

Division, maintains jurisdiction over the following Texas counties: Andrews, Martin, Ector,

Midland, Crane, and Upton.




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        4.2      Venue of this suite is proper in the Western District of Texas, Midland-Odessa

Division, pursuant to 28 .S.C. § 1391(b)(2), because a substantial part of the property that is the

subject of the action is situated in Ector County, Texas, which lies in the Midland-Odessa Division

of the Western District of Texas.

5.0     Facts

        5.1      On or about January 2, 2019, at or about 5:35 a.m., Complainants were traveling

east on Interstate 10 at mile post 377.7. At or about the time same, Defendant SINGH was traveling

east on Interstate 10, behind Complainants’ vehicle. Suddenly, and without warning, Defendant

SINGH failed to control his speed and struck Complainants’ vehicle from behind, pushing

Complainants into the median, thus causing the injuries to Complainants as hereinafter more fully

set forth.

        5.2      At the time of the collision in question, Defendant SINGH was in the course and

scope of his employment with Defendant RITIK. Further, and at all times relevant, Defendant

RITIK allowed, gave permission, instructed, and/or had knowledge of Defendant SINGH’s use an

operation of a tractor-trailer owned and/or controlled by Defendant RITIK.

6.0     Cause of Action

                             NEGLIGENCE – DEFENDANT SINGH

        6.1      Defendant SINGH owed a duty to his fellow motorists, Complainants, to exercise

ordinary care while operating the semi-truck in which he traveled.

        6.2      At the time and on the occasion in question, Defendant SINGH failed to use

ordinary care in one or more of the following particulars:

        a)       he failed to keep a proper lookout;

        b)       he failed to control his speed;




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        d)       he failed to timely apply his brakes; and

        e)       he failed to swerve or perform other evasive action to avoid the collision.

        6.3      One or more of the above acts and/or omissions constitutes negligence and as such

was a proximate cause of the collision and injuries in question.

      VICARIOUS LIABILITY/RESPONDEAT SUPERIOR - DEFENDANT RITIK

        6.4      At all times material hereto, all agents, servants, and/or employees of Defendant

RITIK, including Defendant SINGH, were acting within the course and scope of employment

and/or official duties.

        6.5      Furthermore, at all times material hereto, all agents, servants, and/or employees of

Defendant RITIK including Defendant SINGH were acting in furtherance of the duties of their

office and/or employment.

        6.6      Therefore, Defendant RITIK is responsible for all damages resulting from the

negligent acts and/or omissions of its agents, servants, and/or employees, including Defendant

SINGH, pursuant to the Doctrine of Respondeat Superior.

        6.7      Defendant RITIK is vicariously liable as a matter of law, for any and all negligence

of their employees, pursuant to the doctrine of respondeat superior under Texas law.

                      NEGLIGENT HIRING, SUPERVISION, TRAINING
                         AND RETENTION - DEFENDANT RITIK

        6.8      In the alternative, Defendant RITIK owed a duty to the general public, including

motorists and Complainants, to exercise ordinary care in the hiring of competent drivers and in the

supervision, management, training and retention of its drivers. Defendant SINGH failed to use

ordinary care: to properly investigate Defendant SINGH as a driver; in retaining Defendant SINGH

as a driver; to properly supervise Defendant SINGH; to implement adequate safeguards to prevent




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the collision that resulted in Plaintiff’s injuries; and to provide adequate oversight of Defendant

SINGH.

       6.9      These acts and/or omissions created an environment in which the Complainants’

injuries were likely and reasonably foreseeable to occur, and which in fact did occur. The negligent

acts and/or omissions of Defendant RITIK are a proximate cause of the injuries and damages

sustained by Complainants.

7.0    Damages

       7.1      As a result of the collision in question, Complainants suffered the following

damages:

             a. Medical expenses in the past;

             b. Medical expenses, that in reasonable probability, they will suffer in the future;

             c. Physical impairment in the past;

             d. Physical impairment, that in reasonable probability, they will suffer in the future;

             e. Pain and suffering in the past;

             f. Pain and suffering, that in reasonable probability, they will suffer in the future;

             g. Mental anguish in the past;

             h. Mental anguish, that in reasonable probability, they will suffer in the future;

             i. Physical disfigurement in the past; and

             j. Physical disfigurement, that in reasonable probability, they will suffer in the future;

8.0    Jury Trial

       8.1      Complainants hereby request a trial by jury, pursuant to the 7th Amendment of the

United States Constitution.




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9.0    Prayer

       9.1      WHEREFORE, PREMISES CONSIDERED, Complainants respectfully request

that Defendants be served with summons and after a jury trial herein, Complainants have and

recover against Defendants the following relief:

             a. Judgment against Defendants for all of Complainants’ actual damages as

                determined by the evidence;

             b. Pre-judgment and post-judgment interest as provided by law;

             c. Costs of court as provided by law;

             d. Such other relief to which Complainant may be entitled.

                                              Respectfully submitted,
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